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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA,
Plaintiff,

No. Z£z20485 Ma
REMECO PENNINGTON,

Defendant.

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ORDER ON MOTION FOR EXAMINATION OF DEFENDANT PURSUANT TO 18
U.S.C. § 4244 AND MOTION TO CONTINUE SENTENCING

 

Defendant Remeco Pennington awaits sentencing for nine counts
of various violations of federal criminal law. Before the court
are Pennington's motion for examination under 18 U.S.C. § 4244 and
motion to continue sentencing, filed March 22, 2005. The United
States (“the government”) responded on April 15, 2005. For the
following reasons, the motions are DENIED.

I. Background

Defendant pleaded guilty to counts 1-7 of the superseding
indictment on February lO, 2005. A jury found him guilty of counts
8-9 on February 25, 2005. He is scheduled to be sentenced on June
17, 2005. Defendant is currently being held at the West Tennessee

Detention Facility.

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Some time before March 22, Defendant advised his lawyer that
he had been hearing voices, was confused and disoriented, and that
he had been counseled at the West Tennessee Detention Facility to
seek treatment. Because of these alleged symptoms, Defendant was
unable to meet with his probation officer to prepare a presentence
report. Defendant requests that he be transferred to a medical
facility for a mental examination and that his sentencing hearing
be postponed for at least sixty (60) days.

II. Analysis

A motion under 18 U.S.C. § 4244(a) must be “supported by
substantial information indicating that the defendant may presently
be suffering from a mental disease or defect for the treatment of
which he is in need of custody for care or treatment in a suitable
facility.” lgé In addition to concluding, based on available
evidence, that a defendant suffers from a mental disease or defect,
a court must “make the additional finding that the defendant’s
condition would best be addressed through hospitalization.” United
States v. Czubaj, 85 Fed. Appx. 477, 480 (6th Cir. 2004)(citing
United states v. suker, 902 F.2d 769, 770 (Sth cir. 1990)).

Defendant offers only the unsworn statement of his attorney
that he suffers from certain symptoms and has received advice to
seek treatment. Such evidence is insufficient to require a hearing
or continuance under 18 U.S.C. § 4244. §§e United States v. Bos,

917 F.2d 1178, 1183 (9th Cir. 1990)(holding that no examination or

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hearing was warranted where the only evidence was that a therapist
said that defendant was “delusional” and had “little perception of
his real self”).

III. Conclusion

For the foregoing reasons, the Defendant's motions are DENIED.

so ORDERED this }WL day @f May 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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This notice confirms a copy of the document docketed as number 282 in
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Honorable Samuel Mays
US DISTRICT COURT

